CJA 20 .-\PPC|[NTMENT TOF AND AUTIIOR|TY TO PAY COURT APPOIN'I`ED COUNSEL
1'1. rich Cr'\'d

 

 

 

 

 

 

 

 

 

  
      
  

 

    

 

 

 

_"-t-O JL JDB DGCU|HC||L 58 l':llcu 051"040 n""" 1 Gl 2 PG."S:D 55
1. Cm./mswmv. EYJBPC z. midson REPRESE NTEo l/QUCHERHMYBER 9
TNW Long, Grace
3. MAG. DKT.¢'DEF. NUMBER 4. DIST. DKT..'DEF. NUMBER S. .»\PPEALS DKT.J'DEF. NUMBER 6. OTHER DKT. NUMBER
2104-020092-001
'l‘, ]N C)\SE»"MATI`ER OF (Clse Name) S. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED l.[|. R(.§PFESE§TA,T!ON TYPE
ee nsmu: ons
U.S. v. Long Felony Adult Defendant Appeal of Other Mattcrs
ll- OFFENSE(S) CH ARGED (ClTE U-S~ Cf)de, Tifle & Set:tiun} ll`more than one ol’|'en!e. list (Llp to i'\ve) major offenses charged, according to severity nl' offense.
l) 21 341A=CD. F -- CONTROLLED SUBSTANCE ~ SELL, DISTRIBU TE, OR DISPENSE /;;,
12. ATTORNEY'S NAME (F`irst Name,M. I. Last Name, including anysul'|'lr] ll COURT ORDER , ,~._ .'__
AND MML[NG ADDRESS [§ 0 Appnioting Counsel l] C Co-Counsel ';"',', `,-# \ `.
Weinman, Bemard 121 F sum mr F¢d¢nl o¢rena¢r El k sum For emma sno‘m¢y
275 JEFFERSON AVE 1:] I’ S\ths For l’anel .Attorney m Y Stand'hy Counsel
MEMPHIS TN 3 8103 Pn'or Attorney's Name: ‘
Appointment Date: ___________________- __ _
l:l Because the above-named person represented has testified under oath orf§s\’nz'/ 3:":»:-
otherwise satisfied this court that he or she (l)' ls financially unable to employ mms nd_ w "`
Te|eph,m, Numb": (2) does not wish to waive eounse|. a - ‘ use the interests ol'justlce so requirt‘¢’t" ,~' " ",‘"
attorney whose name . appointed to represent this person ill tllts :;e,
l-l. NAME AND MA[LING ADDRESS OF LAW FIRNI [only provide per instructioos) or ¢;.d¢
O er(S lnst-d,ot 1 ;::,
Signa`l;cre o|' Presitling lud'lcia| Oficer or By Order olthe Court
‘i/(l'i/') fli'l€
[}ate ofOrder Nnne Pro 'l`unc Date
Repayment or partial repayment ordered from the person represented forthis service at
time ol' appointment. m YES l;l NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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TOTAL MATH!I`ECH MATHF['ECH
CATEGORI£S much itemization ors=m'm with dan-9 CE£I‘]{R:SD AMouNT ADJUSTED ADJUSTED AREWEWAL
CLA.IMED HOURS AMOUNT
15. a. Arraignment and/or P|ea
h. Bail and Detention Hearings
c. Motion Hearings
l .
n d. Trlal
C e. Sentencing Hearings
3 f. Rcvocation Hearings
:` g. Appeals Court
h. Other {Specify on additional sheets)
(Rate per hour '= 3 } "I`OTALS:
16. a. lnterviews and Conl'erences
g b. Obtaining and reviewing records
o c. Legal research and brief writing
f .
C d. Travel time
3 E. llWES[lgB!ive and Other thrlt (Specify on additional sheeta}
r
t (Rate per hour == $ ) TOTALS:
d lT. 'I`rave| Expenses (|odging, parldng, meals, mileage, etc.)
lB. Other Expenses (other than expert, transcripts. ecr.)
19. CERTIFICATION OF ATTORNEY/'PAYEE FOR THE PERIOD 0 F SERVlCE 20. APPO|NTMENT TER.MINAT]ON I)ATE 21. CASE DISPOSIT|ON
[l" OTHER THAN CASE COMPLETION
FROM TO
22, CLAIM STATUS ll Final Payment l:] [nt¢r-im Paym¢nt Numher _ - m Supplemeotal !'ayment
Have you previously applied to the court fir compensation and/or remlmburaement for this case'.’ l:l YES l:] NO [fyes, were you paid'.' m YES l:l NO
Other than from the court, have you, or toyour knowledge has anyone else, received payment (compellsation or anything ar value) l'rom any other source in connection with this
representation'? l:l YES 13 N[) Il'yes, give details on additional sheets.
l swear or affirm the truth or correctness of the above statements.
Signalure ol`Attorney: Date:
23. IN COURT COMP. 24. OUT OF COURT CDMP_ 25. TRAVEL EXPENSES 26. OTHER E.XPENSES 27. TOTAL AMT. APPRI cEnT
IB. SIGNATURE OF THE PRESIDING JUDICIAL OFFlCER DATE 281. JUDGE f MAG. JUDGE CODF.
29. lN COURT COMP. 30. OUT OF COL|RT COMP. 31. 'I`RAV'£L EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPRC|VED
34. SIGNA'I'I_JRE OF CHIEF .IUDGE COURT OF APP EALS (OR DELEGATE) Paymenl DATE. Jda. JUDGE CODE
approved in excess ol’lhe statutory threshold amount

 

 

 

 

 

 

""DISICT COURT - WESERNT D's'TRCT oFTENNESSEE

Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

